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               IN THE UNITED STATES DISTRICT COURT
                  FOR THE DISTRICT OF DELAWARE

STRAGENT, LLC,                                 )
                                               )
                   Plaintiff,                  )
                                               )
v.                                             ) C.A. No. 22-293-JDW
                                               )
VOLVO CAR USA, LLC,                            )
                                               )
                   Defendant.                  )
                                               )

MOTION FOR SUMMARY JUDGMENT OF NONINFRINGEMENT AND
              NO WILLFUL INFRINGEMENT

      For the reasons set forth in the Brief in Support, filed concurrently herewith,

Defendant Volvo Car USA, LLC (“Volvo”) through its attorney of records

respectfully requests the Court to grant Defendant’s Motion for Summary Judgment

of Noninfringement and No Willful Infringement.


                                      Respectfully submitted,

Dated: June 9, 2023                   /s/ Stamatios Stamoulis
                                      Stamatios Stamoulis #01790-1999
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                                       Attorney for Defendants
                                       Volvo Car USA LLC




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                          CERTIFICATE OF SERVICE

      I hereby certify that on June 9, 2023, I electronically filed the above

document(s) with the Clerk of Court using CM/ECF which will send electronic

notification of such filing(s) to all registered counsel.


                                         /s/ Stamatios Stamoulis
                                         Stamatios Stamoulis
